              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    BRYSON CITY DIVISION

                    CRIMINAL CASE NO. 2:11cr38-2


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )            ORDER
                          )
                          )
LEONARD DWAYNE WOLFE, II. )
                          )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Without Prejudice [Doc. 23].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 23] is GRANTED, and the Bill of Indictment is hereby

DISMISSED WITHOUT PREJUDICE with respect to the Defendant Leonard

Dwayne Wolfe, II.

     IT IS SO ORDERED.                  Signed: February 17, 2012




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